Case 0:22-cv-61271-JEM Document 16 Entered on FLSD Docket 10/10/2022 Page 1 of 1




                                UNITED STATES DSITRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 0:22-cv-61271-JEM

  MISMA RIVERA,
  individually and on behalf of all
  others similarly situated,

          Plaintiff,

  v.

  ADAM J. RUBINSTEIN, M.D., P.A.

        Defendant.
  __________________________________/


       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

           Plaintiff Misma Rivera, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

   hereby voluntarily dismisses this action. All claims of Plaintiff are hereby dismissed without

   prejudice and without prejudice as to any putative class claims.

  Date: October 10, 2022


                                                   EISENBAND LAW, P.A.

                                                   /s/Michael Eisenband
                                                   Michael Eisenband
                                                   515 E. Las Olas Boulevard, Suite 120
                                                   Ft. Lauderdale, Florida 33301
                                                   Michael Eisenband
                                                   Florida Bar No. 94235
                                                   MEisenband@Eisenbandlaw.com
                                                   Telephone: 954.533.4092
                                                   Counsel for Plaintiff
